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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


 FRED HIEBER,

            Plaintiff,

 v.                                                     CASE NO.: 8:18-cv-02557-JSM-SPF

 PAYPAL, INC.

            Defendant.


                                            ./


                         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


                   COMES NOW the Plaintiff, Fred Hieber, and the Defendant, Paypal, Inc., pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby stipulate to dismiss,

with prejudice, each claim and count therein asserted by Plaintiff against the Defendant, in the above

styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

      By:

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                                   CERTIFICATE OF SERVICE

      I certify that on February 1, 2019, a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                           s/Amanda J. Allen, Esq.
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